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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

UNILOC USA, INC., et al.
                                                         Case No. 2:16-cv-642-JRG
                         Plaintiffs,
                                                         LEAD CASE
        v.

SAMSUNG ELECTRONICS AMERICA, INC.,
APPLE INC.,                                              Case No. 2:16-cv-0638-JRG
BLACKBERRY CORPORATION, ET AL.,                          Case No. 2:16-cv-0639-JRG
KAKAO CORPORATION,                                       Case No. 2:16-cv-0640-JRG
LINE EURO-AMERICAS CORP., ET AL.,                        Case No. 2:16-cv-0641-JRG
VIBER MEDIA S.A.R.L.,                                    Case No. 2:16-cv-0643-JRG
VOXERNET LLC,                                            Case No. 2:16-cv-0644-JRG
WHATSAPP, INC.,                                          Case No. 2:16-cv-0645-JRG
AOL, INC.                                                Case No. 2:16-cv-0722-JRG
BEETALK PRIVATE LTD.                                     Case No. 2:16-cv-0725-JRG
FACEBOOK, INC.                                           Case No. 2:16-cv-0728-JRG
GREEN TOMATO LIMITED                                     Case No. 2:16-cv-0731-JRG
SONY INTERACTIVE ENTERTAINMENT                           Case No. 2:16-cv-0732-JRG
LLC
TANGOME, INC. D/B/A TANGO                                Case No. 2:16-cv-0733-JRG

                         Defendants.


             JOINT MOTION FOR ENTRY OF DISPUTED PROTECTIVE ORDER
        Plaintiffs, Uniloc USA, Inc. and Uniloc Luxembourg, S.A., and Defendants Samsung

Electronics America, Inc.; Apple Inc.; BlackBerry Corporation; BlackBerry Limited; Kakao

Corporation; LINE Euro-Americas Corp., et al.; Viber Media S.a.r.l.; Voxernet LLC; WhatsApp,

Inc.; AOL, Inc.; Facebook, Inc.; Green Tomato Limited; Sony Interactive Entertainment LLC;

and TangoMe, Inc. d/b/a Tango (collectively, “the Parties”) respectfully request that the Court

enter a Protective Order in this case. 1



1        Defendant BeeTalk Private Ltd.’s (“BeeTalk”) deadline for responding to Plaintiffs’ Complaint is
December 14, 2016. To the extent BeeTalk is required to take a position on this motion at this time, BeeTalk
joins with Defendants.

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       The Parties have reached agreement on most terms of the Protective Order. However, the

Parties were unable to reach agreement on two provisions: (1) whether the Protective Order

should include a bar on advising or counseling clients on the acquisition of patents, patent

applications, or the right to sublicense any such patent or patent applications (“Patent Acquisition

Bar”), and (2) the use of personal computers to take notes during source code review (“Source

Code Note-Taking Computer”). The Parties have met and conferred in good faith and are unable

to resolve these issues. The Parties’ Disputed Protective Order proposed is attached as Exhibit A.

Each Party’s position on the two disputed provisions is set forth below.

I.     ARGUMENT WITH RESPECT TO DISPUTED PROVISIONS

       A.      Patent Acquisition Bar – Section 6(c)

              Plaintiffs’ Proposal                                Defendants’ Proposal
[Plaintiff submits that Defendants’ proposal for    Absent the written consent of the Producing
an “acquisition bar” is not warranted in this       Party, any attorney representing Plaintiffs who
case, and Defendants have failed to provide         is permitted to and in fact receives Defendant’s
any good cause showing the need such a bar at       materials designated “HIGHLY
this time.]                                         CONFIDENTIAL – ATTORNEY’S EYES
                                                    ONLY” or “HIGHLY CONFIDENTIAL –
                                                    SOURCE CODE” and directed to technical
                                                    information relevant to the case, but excluding
                                                    financial data or non-technical business
                                                    information (collectively, “HIGHLY
                                                    SENSITIVE TECHNICAL MATERIAL”), in
                                                    accordance with this Order, shall not be
                                                    involved, directly or indirectly, the acquisition
                                                    of patents (including patent applications), or
                                                    the rights to any such patents or patent
                                                    applications with the right to sublicense,
                                                    relating to the subject matter of the asserted
                                                    patents, e.g., generating and transmitting
                                                    instant voice messages over a network. These
                                                    prohibitions shall begin when access to the
                                                    HIGHLY SENSITIVE TECHNICAL
                                                    MATERIALS are first received by the affected
                                                    individual, and shall end one (1) year after the
                                                    settlement and/or dismissal of the Producing
                                                    Party Defendant from this action or the final
                                                    non-appealable termination of this action.
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               1.      Plaintiffs’ Position:

       Uniloc respectfully submits that the Patent Acquisition Bar proposed by Defendants is an

unnecessary addition to the Protective Order, which expressly provides that “[a]ll Protected

Material shall be used solely for this case…and not for any other purpose whatsoever, including

without limitation any other litigation, patent prosecution or acquisition…or any business or

competitive purpose or function.” Exhibit A at ¶6(a). As such, the Protective Order already

prohibits counsel from using any Protected Materials for the purpose of advising any party on the
acquisition of a patent.

       Defendants nevertheless propose that counsel for Plaintiffs be prohibited from advising

any party about the acquisition of a patent broadly relating to the subject matter of the asserted

patents if Plaintiff’s counsel has viewed any of Defendants’ technical information in this

matter—and not merely technical information directly relating to the patent to be acquired.

Defendants’ proposal would further prohibit Plaintiffs’ counsel from being “involved, directly or

indirectly” in such acquisitions—again without regard to whether Plaintiffs’ counsel had actually

viewed technical information directly relating to the patent to be acquired. As such, Defendants’

Patent Acquisition Bar would constitute an automatic disqualification of Plaintiffs’ counsel from

such acquisition activities without regard to whether any particular harm might be prevented by

the proposed disqualification.
       As Section 6(a) of the Proposed Protective Order already expressly prohibits Counsel

from using Protected Material for the purpose of patent acquisitions, it is unclear how the

proposed Patent Acquisition Bar would serve any purpose if not to disqualify Plaintiffs’ counsel

from direct or indirect involvement in patent acquisitions where such disqualification would not

be warranted based on the material actually viewed by the attorney. In fact, Defendants Apple,

Blackberry and Samsung have all recently agreed to a Protective Order before this Court that did


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not include, or even propose, such a Patent Acquisition Bar. See, e.g., Case No. 2:13-cv-01112-

JRG, Dkt. 144 at 6 (Joint Motion for Entry of a Protective Order); Dkt. 151 at 5 (Protective

Order).

          Therefore, Uniloc respectfully requests that the Court deny Defendants’ request for a

Patent Acquisition Bar.

                 2.      Defendants’ Position:
          The parties dispute whether the Protective Order should include a patent acquisition bar.

Defendants submit that it should be included.         Defendants proposed patent acquisition bar
prohibits recipients of a Defendant’s highly sensitive technical material from being involved in

“the acquisition of patents (including patent applications), or the rights to any such patents or

patent applications with the right to sublicense, relating to the subject matter of the asserted

patents.” Such a provision is appropriate to forbid “outside counsel from advising clients

whether to acquire a patent closely related to the subject matter of this litigation.”         EPL

Holdings, LLC v. Apple Inc., No. C-12-04306, 2013 WL 2181584, at *4-*5 (N.D. Cal. May 20,

2013).

          The considerations supporting imposition of a patent acquisition bar are the same as those

supporting the patent prosecution bar that Uniloc has agreed to include in this Protective Order.

Specifically, both bars seek to mitigate the risk that a recipient of confidential technical

information will inadvertently use that information when drafting claims for a patent application

(prosecution bar) or when advising on the purchase of patents (acquisition bar). See, e.g.,

Inventor Holdings, LLC v. Google, Inc., Civil Action No. 1:14-cv-00186 (GMS), 2014 WL

4369504, at *1 (D. Del. Aug. 27, 2014) (where “the plaintiff is a non-practicing entity, it is

difficult to envision circumstances in which the inadvertent disclosure of highly confidential

information would not be a risk about which to be concerned when the issue being discussed is

the future acquisition of patents”) (emphasis in original); Telebuyer, LLC v. Amazon.com, Inc.,
No. 13-cv-1677, 2014 WL 5804334, at *7 (W.D. Wash. July 7, 2014) (“Patent acquisition
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creates the same risks of inadvertent use as patent prosecution, in that litigation counsel may

consciously or subconsciously use their knowledge of . . . confidential information to advise a

client on which patents to acquire.”); Doc. 78, Trustees of Boston University v. Apple Inc., Case

No. 1:13-cv-11575-PBS (D. Mass. Nov. 15, 2013) , at *5 (“The concerns justifying a patent

acquisition bar for counsel also extend to trial experts and consultants.”).

       In E-Contact Technologies, LLC v. Apple Inc., this Court noted that plaintiff’s

acquiescence to a prosecution bar establishes the necessity for an acquisition bar.

       Counsel for Plaintiff has acquiesced to the imposition of a patent prosecution bar,
       and, therefore, apparently agrees that there could possibly be a risk of inadvertent
       disclosure of Defendants' confidential information in the course of representing
       their client before the PTO. Therefore, it is hard to conceive that there would be
       little or no risk of inadvertent disclosure when these same attorneys advise their
       client in matters regarding acquisitions of patents.


E-Contact Technologies, LLC v. Apple Inc., No. 1:11-cv-426 (LED/KFG), 2012 WL 11924448,

at *2 (E.D. Tex. June 19, 2012). In balancing the interests of the case, the Court paid particular

interest to the volume of the defendant’s confidential information and severity of financial

consequences that would flow from disclosure of the same.

       This Court must balance the interests in this case. Id. Defendants possess an
       enormous amount of confidential and proprietary information and the inadvertent
       disclosure of such information has very significant financial consequences. This
       Court finds that the potential harm of inadvertent disclosure outweighs the
       restriction imposed on counsel for Plaintiff. An acquisition bar should be
       included in the protective order.

Id.
       Defendants in this case will similarly be required to disclose an “enormous” amount of

confidential information that, if used consciously or unconsciously to inform decisions on

acquiring patents, would result in “very significant financial consequences.” See id. This

information will include highly sensitive source code and technical documentation relating to the

functionalities accused by Plaintiff. Uniloc is a non-practicing, patent assertion entity in the

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business of acquiring patents and filing lawsuits to collect licensing revenues. Here, Uniloc

acquired the asserted patents and sued over a dozen defendants for alleged infringement. Those

suits will give Uniloc, its counsel, and its experts access to Defendants’ highly confidential and

sensitive information that could be inadvertently used to inform future acquisition, licensing, and

litigation decisions. Because there is significant risk to Defendants should the acquisition bar not

be adopted, Defendants respectfully request that the Court include the acquisition bar in the final

protective order.

       B.      Source Code Note-Taking Computer – Section 11(c)(vi)

              Plaintiffs’ Proposal                               Defendants’ Proposal
The Receiving Party’s Outside Counsel and/or        The Receiving Party’s Outside Counsel and/or
experts shall be entitled to take notes relating    experts shall be entitled to take notes relating
to the Source Code but may not copy or              to the Source Code but may not copy the
transcribe the Source Code into the notes. The      Source Code into the notes. Such notes shall
Receiving Party’s expert(s) and/or consultant       only contain the mental impressions or
may use a single computer in the review room        comments of the reviewer regarding the Source
for the sole purpose of taking and reviewing        Code rather than transcription of the Source
his or her notes. Further, the computer shall be    Code itself. The Receiving Party’s expert(s)
non-networked, shall not be connected to the        and/or consultant(s) may take notes in a file on
Internet, shall have no camera apparatus, and       either the Source Code computer or a separate
shall have all input/output connections disabled    computer provided by Producing Party, at the
while taking notes or when present in the           Producing Party’s option, subject to the
Source Code Review Room. The taking of              restrictions on copying code set forth herein.
photographs or video shall not be permitted in      To avoid ambiguity, the option to provide a
the Source Code Review Room.                        separate computer rather than allowing note
                                                    taking on the Source Code computer is solely
                                                    the Producing Party’s option, and does not
                                                    require agreement from the Receiving Party.
                                                    However, Producing Party must provide one of
                                                    the two computer options.        Producing Party
                                                    will provide a program on the note-taking
                                                    computer that allows Receiving Party to
                                                    encrypt its notes. If the Receiving Party’s
                                                    expert(s) and/or consultant(s) choose to do so,
                                                    Receiving       Party’s      expert(s)     and/or
                                                    consultant(s) will identify the name and
                                                    location of the encrypted notes file, and
                                                    Producing Party will, without reviewing the
                                                    contents of the notes file, provide the encrypted
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                                                     notes file to the Receiving Party within one (1)
                                                     business day.


               1.      Plaintiffs’ Position:

       Uniloc has requested that the Protective Order include a provision that would permit

Uniloc’s expert to bring a non-networked computer, with no camera apparatus or working ports

(USB or otherwise), into the Source Code review room solely for the purpose of taking notes in

order to prepare his expert report. Defendants propose instead that Uniloc’s expert should record

his mental impressions and analysis using a program on each of the Defendants’ Source Code

Computers, or another computer provided by each Defendant for that purpose, and that Uniloc’s

expert may receive an encrypted copy of his work product from each Defendant within one (1)

business day. No mention is made by Defendants of the encryption method to be used by any of

the Defendants or what would ultimately become of the expert’s notes stored on each of the

Defendants’ computers.

       In order to safeguard the confidentiality of Defendants’ source code, Uniloc has agreed to

several restrictions on its expert’s review of Defendants’ respective source code. Uniloc has

agreed to these restrictions despite the potential of the restrictions to interfere with the efficiency

of expert’s inspection and the preparation of his expert report. These restrictions include, inter

alia: (1) prohibiting the expert from transcribing any portion of a Defendant’s source code into

his notes, even for the purpose of making explicit reference in his notes to a particular section of

the produced code; (2) allowing Defendants to visually monitor the expert’s activities while he is

inspecting Defendants’ source code; and (3) agreeing that the expert’s computer used for note-

taking would have no camera apparatus, no working ports and would not be networked.

       Still, Defendants contend these restrictions are not enough, and that they lack adequate

assurance that Uniloc’s expert would not nevertheless attempt to subvert the Protective Order

and take unauthorized portions of Defendants’ code—despite his being visually monitored at all

times by Defendants, his lacking any technological means to do so and his agreeing to be bound

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by a protective order that would entirely prohibit the same. Defendants instead propose that

Uniloc’s expert should entrust his protected work product and mental impressions to each of the

Defendants, who would not even permit the expert to take his work with him following the

review, but would instead send the expert a copy of his own work product within a business day

of the inspection. As such, Uniloc’s expert would be entirely unable to access these notes even

for the purpose of discussing the results of his source code review privately with litigation

counsel, as the expert would also not be permitted to bring his mobile phone into the review

room.

        Uniloc submits that Defendants’ proposed restrictions on protected material are far too

one-sided. Whereas Defendants have insisted upon, and Uniloc has already agreed to, several

highly restrictive proposals for protecting Defendants’ confidential source code, even where such

proposals may potentially interfere with its expert’s work, Defendants are not willing to agree to

similar protections for Uniloc’s protected work product. Uniloc’s proposal for a single computer

for its reviewer is a modest one and—absent Defendants’ providing assurances or details as to

how Uniloc’s expert’s work product will be handled by each Defendant or protected from

unauthorized disclosure—a necessary one.

        Uniloc, thus, requests that, subject to all other restrictions in the Protective Order, the

Court grant its proposal for a single note-taking computer to be used by its expert during his
source code review.

               2.      Defendants’ Position:

        Source code warrants special protections because it is highly sensitive and easy to copy.

The source code that will be at issue in this litigation is the culmination of years of work, and

embodies closely protected trade secrets vital to Defendants’ respective businesses. If code falls

into the wrong hands, whether intentionally or unintentionally, it is exceedingly easy to copy that

code to other devices and it is impossible to recover the code once electronic copies are

unsecurely circulated.     Even Uniloc acknowledges that Source Code warrants special
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protections. The parties have agreed on numerous provisions to ensure that Defendants remain in

control of their most sensitive technical information, that Source Code Review occurs in a

secure, controlled environment, and that Source Code is not copied, printed, or transported

without adequate protections. These provisions are standard fare in cases such as these—as

evidenced by the fact that Uniloc has recently agreed to the same or similar proposals before this

Court. Only one issue related to source code remains outstanding: whether or not Uniloc’s

experts may bring their own computer into the Source Code Review Room to take notes.

       In a recent set of consolidated cases in this Court involving the same plaintiffs and

several of the same defendants (Consolidated Case No. 6:15-cv-1168-JRG) (the “Uniloc-Turner

Case”), Uniloc agreed to provisions that restricted experts to handwritten notes only. Uniloc

USA, Inc., et al. v. Avaya, Inc., Doc. No. 75 at 16, Case No. 6:15-cv-01168-JRG (E.D. Tex. June

17, 2016) (“No recordable media or recordable devices, including without limitation sound

recorders, computers, cellular telephones, peripheral equipment, cameras, CDs, DVDs, or drives

of any kind, shall be permitted into the Source Code Review Room.”). Consistent with Uniloc’s

prior practice and Defendants’ concerns about protecting their most sensitive and confidential

information, Defendants proposed similar language in this case.

       After more than two months of negotiations, Uniloc rejected the language it had agreed to

in the prior Uniloc-Turner Case and insisted that its experts be allowed to take electronic notes
on their own computers, ostensibly for the sake of a more efficient review. Defendants objected

to Uniloc’s proposal because the Defendants cannot police whether a computer brought into the

source code review room has been adequately secured to ensure that defendants’ most sensitive

technical information is protected from potential theft or misuse. Recognizing the potential

security risks, Courts in the district have repeatedly entered restrictions on outside electronic

devices being brought into the same room as the Source Code Computer. See Affinity Labs of

Texas, LLC v. Samsung Electronics Co., Ltd., Doc. No. 115 at 4, Case 1:12-cv-00557-RC (E.D.

Tex. Oct 29, 2013) (“Given the highly sensitive nature of the source code, Defendants have met
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 their burden of showing good cause in prohibiting electronic devices.”); Geotag, Inc. v. Frontier

 Comms. Corp., et al., Doc. No. 582 at 6-7, Case No. 2:10-cv-00570-JRG-MCS (E.D. Tex. Jan. 8,

 2013) (“The Court is unconvinced that sufficient review of Defendants’ source code requires a

 cellular telephone or note-taking computer. In light of the highly confidential nature of the

 source code, allowing these devices within the secure room would significantly increase the

 possibility of inadvertent disclosure.”).

        Defendants offered several compromises to resolve this issue. First, Defendants offered

 to allow electronic note-taking on a separate computer provided by the Producing Party.

 Defendants believed this proposal adequately addressed Uniloc’s concerns about efficiency,

 while at the same time ensuring that the additional Source Code protections remained in full

 force. Uniloc again rejected Defendants’ proposal, this time citing concern over maintaining the

 confidentiality of work product. Second, Defendants offered to compromise by providing an

 encryption program which would ensure that only Uniloc’s experts would have access to the

 electronic notes.    And again, Uniloc refused to budge, insisting without explanation that

 “encryption” was insufficient to protect the confidentiality of its experts’ notes. Uniloc’s latest

 refusal contradicts the parties’ agreed provision regarding electronic copies of Source Code,

 which requires encryption. It is telling that Uniloc did not explain how or why encryption is

 sufficient to protect the underlying Source Code yet somehow insufficient to protect its experts’
 notes regarding the same Source Code.

        Defendants have presented numerous compromises in an effort to address Uniloc’s

 concerns—first allowing electronic notes contrary to Uniloc’s prior positions and then by

 offering to encrypt any such notes to ensure confidentiality. In response, Uniloc has presented

 only excuses, manufactured disputes, and refused to offer any compromise. Defendants’ proposal

 strikes the appropriate balance between protecting Defendants’ most sensitive and important

 technical information without interfering with Uniloc’s prosecution of its case. In contrast,


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 Uniloc’s proposal contradicts the purpose of the agreed Source Code protections and is

 inconsistent with its prior practice before this Court.




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 Dated: November 2, 2016           Respectfully submitted,



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                                      15               JOINT MOTION FOR ENTRY OF DISPUTED
                                                 PROTECTIVE ORDER —CASE NO. 2:16-CV-642-JRG
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                               CERTIFICATE OF SERVICE

 The undersigned hereby certifies that the foregoing document was filed electronically in
 compliance with Local Rule CV-5(a). As such, this document was served on all counsel of
 record who have consented to electronic service on November 2, 2016.

                                                  /s/    Michael J. Ercolini




                                             16               JOINT MOTION FOR ENTRY OF DISPUTED
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